                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                5:20CV43-GCM-DCK

DAWN PRUETT,                  )
                              )
       Plaintiff,             )
                              )
vs.                           )               ORDER
                              )
KILOLO KIJAKAZI,              )
Acting Commissioner of Social )
Security,                     )
                              )
       Defendant.             )
______________________________)


       This matter is before the Court upon the memorandum and recommendation of United

States Magistrate David C. Keesler, filed September 9, 2021. The parties were advised that

pursuant to 28 U.S.C. § 636(b)(1)(C), written objections to the memorandum and

recommendation must be filed within 14 days after service of the memorandum. It appears to the

court that the parties have not filed any such objections.

       After an independent and thorough review of the magistrate's memorandum, the court

concludes that there is no clear error on the face of the record and that the recommendation to

deny Plaintiff’s Motion for Summary Judgment and grant the Defendant’s Motion for Summary

Judgment is correct and in accordance with law. Accordingly, the findings and conclusions of the

magistrate are accepted, Plaintiff's Motion for Summary Judgment is DENIED, and the

Defendant’s Motion for Summary Judgment is GRANTED.




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      IT IS THEREFORE ORDERED that the memorandum and recommendation of the

magistrate is hereby AFFIRMED.




                                              Signed: September 29, 2021




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